            Case 1:20-cv-00516-RP Document 1 Filed 05/13/20 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


BOULDER RIVER CAPITAL                               Civil Action No. 1:20-cv-516
CORPORATION AND SPECULATOR
CAPITAL CORPORATION,

                       Plaintiffs,                  Jury Demanded

v.

NANO GLOBAL CORP.,

                       Defendant.


                        COMPLAINT FOR BREACH OF CONTRACT

       Plaintiffs Boulder River Capital Corporation and Speculator Capital Corporation

(“Plaintiffs”) bring suit against Defendant Nano Global Corp. (“Defendant” or “Nano”) and

allege as follows.

                                               Parties

       1.      Plaintiff Boulder River Capital Corporation (“Boulder River”) is a New York

corporation and the holder of one of the Convertible Promissory Notes at issue in this suit.

Plaintiff Speculator Capital Corporation (“Speculator Capital”) is a New York corporation and

the holder of the other Convertible Promissory Note at issue in this suit. Joinder of Boulder

River and Speculator Capital as co-plaintiffs is proper because Plaintiffs assert a right to relief

severally with respect to or arising out of the same the same transaction, occurrence, or series of

transactions or occurrences. The two Convertible Promissory Notes at issue in this case were

issued by Defendant on the same date and as a result of the same series of investment offers and

representations about Nano made by Defendant Nano to Plaintiffs’ common representative. The

notes are also identical in their terms, other than the amounts of principal. The failure of Nano to
            Case 1:20-cv-00516-RP Document 1 Filed 05/13/20 Page 2 of 5




perform its obligations under the notes to make repayment to Plaintiffs also arises from the same

series of events, including Nano’s claimed lack of funds and the activities that led to that

purported condition. Accordingly, Plaintiffs’ claims involve common questions of law and fact.

       2.      Defendant Nano Global Corp. is a Delaware corporation with offices located at

1705 Guadalupe Street Suite 400 Austin, Texas 78701-1272. Defendant is the issuer of the

Convertible Promissory Note at issue in this suit. Defendant can be served by serving its

registered agent CT Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

                                      Jurisdiction & Venue

       3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332. There is complete diversity of citizenship and the amount in controversy exceeds $75,000.

       4.      This Court has personal jurisdiction over Defendant Nano. Nano’s principal place

of business is located within this district. In addition, Nano consented to the jurisdiction of “the

United States Federal Courts of the United States for the Western District of Texas for the

purpose of any action or proceeding arising out of or relating to” the Convertible Promissory

Notes at issue in this suit. Exhibit A § 8.7; Exhibit B § 8.7.

       5.      Venue is proper in this judicial district under 28 USC § 1391. In addition, Nano

agreed to venue in this Court. Id.

                                        Factual Allegations

       6.      On September 6, 2019, in consideration of Plaintiffs’ provision of funds,

Defendant issued two Convertible Promissory Notes: (1) a Convertible Promissory Note to

Boulder River in which Defendant unconditionally promised to pay Boulder River the principal

sum of $1,750,000 (one million seven hundred and fifty thousand dollars), along with accrued

interest at a contractually agreed interest rate of 4.25% per annum (the “Boulder River Note”),

Exhibit A; and (2) a Convertible Promissory Note to Speculator Capital in which Defendant

                                                  2
             Case 1:20-cv-00516-RP Document 1 Filed 05/13/20 Page 3 of 5




unconditionally promised to pay Speculator Capital the principal sum of $250,000 (two hundred

and fifty thousand dollars), along with accrued interest at a contractually agreed interest rate of

4.25% per annum (the “Speculator Capital Note”). Exhibit B.

       7.       Payment of the outstanding principal and accrued interest of both the Boulder

River Note and the Speculator Capital was “due and payable on the earlier of (i) December 31,

2019 (‘Maturity Date’); (ii) the closing of a Qualified Financing as defined below; and (iii) the

occurrence of an Event of Default as defined below.” Ex. A § 1 (underline in original); Ex. B §

1 (underline in original). The entire principal and all accrued interest under both notes became

due and payable on the Notes’ Maturity Date, December 31, 2019.

       8.      Despite demands from Plaintiff, Defendant has yet to remit to Plaintiff any

portion of the amounts that became due and payable December 31, 2019, leaving an unpaid sum

of $2,000,000 in principal plus interest at 4.25% per annum that is continuing to accrue.

                 Count One – Breach of Contract (asserted by Boulder River)

       9.      Plaintiff Boulder River incorporates by reference the allegations of the foregoing

paragraphs of this complaint and further alleges as follows.

       10.     Boulder River is the legal owner and holder of the Boulder River Note and is

entitled to receive all payments due under the terms of that note. Defendant Nano Global Corp.

is the issuer of the Boulder River Note. The Boulder River Note constitutes a valid, legally

binding, and enforceable contract between Boulder River and Defendant.

       11.     Any and all conditions precedent to recovery by Boulder River under the Boulder

River Note, or to the filing this action, have been performed or have occurred.

       12.     On December 31, 2019, the principal amount of $1,750,000 and all accrued

interest became due and payable to Plaintiff Boulder River from Defendant under the Boulder

River Note.

                                                  3
             Case 1:20-cv-00516-RP Document 1 Filed 05/13/20 Page 4 of 5




       13.       Defendant has failed to perform and is in breach of its obligations to pay the

amounts due under the Boulder River, which failure has damaged and will continue to damage

Plaintiff Boulder River.

                Count Two – Breach of Contract (asserted by Speculator Capital)

       14.       Plaintiff Speculator Capital incorporates by reference the allegations of

paragraphs 1-8 above and further alleges as follows.

       15.       Speculator Capital is the legal owner and holder of the Speculator Capital Note

and is entitled to receive all payments due under the terms of that note. Defendant Nano Global

Corp. is the issuer of the Speculator Capital Note. The Speculator Capital Note constitutes a

valid, legally binding, and enforceable contract between Speculator Capital and Defendant.

       16.       Any and all conditions precedent to recovery by Speculator Capital under the

Speculator Capital Note, or to the filing this action, have been performed or have occurred.

       17.       On December 31, 2019, the principal amount of $250,000 and all accrued interest

became due and payable to Plaintiff Speculator Capital from Defendant under the Speculator

Capital Note.

       18.       Defendant has failed to perform and is in breach of its obligations to pay the

amounts due under the Speculator Capital Note, which failure has damaged and will continue to

damage Plaintiff Speculator Capital.

                                             Jury Demand

       19.       Plaintiffs demands trial by jury of all issues.

                                           Relief Requested

       Plaintiffs request that the Court enter judgment for the Plaintiffs and against Defendant

for the following:



                                                    4
           Case 1:20-cv-00516-RP Document 1 Filed 05/13/20 Page 5 of 5




      A.     Compensatory damages in the amount of $2,000,000, plus interest in the amount

             of 4.25% per annum;

      B.     Costs of suit;

      C.     Prejudgment and post-judgment interest at the maximum legal rate; and

      D.     Any and all other relief to which Plaintiffs may be entitled.



                                           Respectfully submitted,

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                                           ATTORNEYS FOR PLAINTIFFS BOULDER
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